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Importance of Deﬁning Margin of Error Relative
to Magnitude of Proportion

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Binomial Confidence Intervals for Rare Events: Importance of Defining Margin of Error
Relative to Magnitude of Proportion
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    ABSTRACT                                                                                                                                                     ARTICLE HISTORY
    Confidence interval performance is typically assessed in terms of two criteria: coverage probability and                                                     Received June 2023
    interval width (or margin of error). In this article, we assess the performance of four common proportion                                                    Accepted April 2024
    interval estimators: the Wald, Clopper-Pearson (exact), Wilson and Agresti-Coull, in the context of rare-
    event probabilities. We define the interval precision in terms of a relative margin of error which ensures                                                   KEYWORDS
                                                                                                                                                                 Binomial; Coverage;
    consistency with the magnitude of the proportion. Thus, confidence interval estimators are assessed in terms
                                                                                                                                                                 Confidence interval; Margin
    of achieving a desired coverage probability whilst simultaneously satisfying the specified relative margin of                                                of error; Proportion; Rare
    error. We illustrate the importance of considering both coverage probability and relative margin of error                                                    event
    when estimating rare-event proportions, and show that within this framework, all four interval estimators
    perform somewhat similarly for a given sample size and confidence level. We identify relative margin of error
    values that result in satisfactory coverage while being conservative in terms of sample size requirements,
    and hence suggest a range of values that can be adopted in practice. The proposed relative margin of error
    scheme is evaluated analytically, by simulation, and by application to a number of recent studies from the
    literature.



1. Introduction                                                                                    p = 10−4 . However, while it is expected that relatively large
                                                                                                   samples will be required to adequately estimate the order of
A fundamental problem in applied statistics is the construction
                                                                                                   magnitude of a small proportion, p, practitioners will need more
of a confidence interval (CI) for a binomial proportion, p. In
                                                                                                   specific guidance on the sample size requirements; this is not
many applications, one deals with a large population within
                                                                                                   well covered by the existing literature.
which an event of interest is rare. For example, in clinical
                                                                                                       The problem of constructing a CI for p has a wide literature,
statistics, p could represent the proportion of patients exhibiting
                                                                                                   including several comparative studies, for example, Gonçalves
treatment side effects; such a scenario arose in the context of
                                                                                                   et al. (2012), Leemis and Trivedi (1996), Newcombe (1998), and
COVID-19 vaccination (Polack et al. 2020). In manufacturing,
                                                                                                   Pires and Amado (2008). These works assess various propor-
the number of defective components is often very small relative
                                                                                                   tion estimators, for example, Pires and Amado (2008) compare
to the large number of components produced. Indeed, many
                                                                                                   twenty different methods. However, these works, and the litera-
manufacturers now achieve a defect rate of 3.4 in one million
                                                                                                   ture in general, focus primarily on situations where p is moder-
(Evans and Lindsay 2015; Woodall and Montgomery 2014).
                                                                                                   ately large. As such, there is much less guidance in the existing
In the aviation industry, strict regulations ensure that safety
                                                                                                   literature regarding the scenario where p is small. Furthermore,
incidents are deemed as a rare occurrence, for example, Boeing
                                                                                                   there is little discussion of relative margin of error, which is
(2022) shows that very few incidents occur within a large sample
                                                                                                   needed in this small p setting. Whereas relative margin of error
of flights. (Note: we revisit the COVID-19 and aviation examples
                                                                                                   is not a prominent feature of CI assessment for moderately large
as case studies in Section 8, along with an ADHD medication
                                                                                                   proportions, it is essential that the margin of error scales with
example.)
                                                                                                   the magnitude of p for rare events. Therefore, we consider a valid
    Ascertaining the order of magnitude of p is important in
                                                                                                   CI estimator as one that achieves a desired coverage probability
“large populations” such as the aforementioned. Indeed, with
                                                                                                   while also maintaining a specified relative margin of error, and,
population sizes in the millions (or billions), there is a big
                                                                                                   in contrast to much of the existing literature, we focus on the
practical difference between p = 10−4 and p = 10−6 (but
                                                                                                   small p regime of p ∈ [10−6 , 10−1 ], where relative margin of
such differences are much less important/detectable in smaller
                                                                                                   error is especially important.
populations). For example, in high-throughput manufacturing,
                                                                                                       For our analysis, we consider the most widely used binomial
a difference in the order of magnitude in the failure rate has sig-
                                                                                                   confidence interval, the Wald interval, along with three other
nificant implications for the number of defects and/or product
                                                                                                   common intervals: Clopper-Pearson (exact), Wilson (score) and
returns. From a purely pragmatic perspective, note that 10,000
                                                                                                   Agresti-Coull (adjusted Wald) (Wilson 1927; Clopper and Pear-
observations are needed to obtain, on average, one event when

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son 1934; Agresti and Coull 1998). Despite its widespread use,          size planning, then moves on to using relative margin of error in
the Wald interval is known to produce inadequate coverage               such planning, and CI performance evaluation. Sections 5 and 6
when p is near 0 or 1, and/or the sample size, n, is small. It          illustrate the importance of employing a relative margin of error
has also been well documented that this interval suffers from           scheme in CI assessment. Section 7 presents the challenge of
erratic coverage, even when p is moderate (Blyth and Still 1983;        estimating a rare-event proportion using a small sample size. In
Vollset 1993; Böhning 1994; Agresti and Coull 1998). Brown,             Section 8, we present a number of case studies to demonstrate
Cai, and DasGupta (2001) show that this coverage fluctuation            the relative margin of error schemes in assessing the validity of
also occurs for large n and recommend against using the Wald            estimated intervals. Finally, the article concludes in Section 9
interval in practice. Newcombe (1998) also discourages the use          with a discussion.
of the Wald interval and suggests that its use be restricted to
sample size planning. In recent work, Andersson (2023) dis-
cusses the deficiencies of the Wald interval and examines its           2. Binomial Proportion Interval Estimators
coverage and noncoverage performance relative to the Wil-
                                                                        Several methods have been devised to estimate a binomial
son interval. Whilst the criticisms of the Wald interval can be
                                                                        proportion, p, including the Wald, Clopper-Pearson, Wil-
justified, particularly when n is small, it is worth noting that
                                                                        son, Agresti-Coull, Jeffreys, arcsine transformation, Jeffreys’
the issue of erratic coverage is not unique to the Wald inter-
                                                                        Prior and the likelihood ratio interval. A range of ensemble
val; this behavior is related to the binomial distribution and
                                                                        approaches have also been considered, for example, Kabaila,
we illustrate (in Section 5) that it occurs for all four interval
                                                                        Welsh, and Abeysekera (2016), Park and Leemis (2019), and
estimators.
                                                                        Turek and Fletcher (2012). In this work we assess the per-
    A common approach in determining sample sizes is to set
                                                                        formance of the Wald, Clopper-Pearson, Wilson and Agresti-
the (Wald) CI margin of error equal to a specified value, , and
                                                                        Coull intervals in standard form, that is, without modification
then solve for n. In order to maintain consistency between 
                                                                        or application of continuity correction.
and p, we consider the relative margin of error, R = /p,
and obtain sample sizes by setting R to a specified value and
solving each interval equation for n. Lwanga and Lemeshow
                                                                        2.1. Details of the Intervals Considered in Our Work
(1991) provide (Wald) sample size calculations for fixed margins
of error and relative margins of error in the range [0.01, 0.5] for     The Wald interval is included in this study as it is the most widely
p ∈ [0.05, 0.95]. However, in our work, we focus on the small-          known and used estimator. We assess the Clopper and Pearson
p regime of p ∈ [10−6 , 10−1 ] and provide computed coverage            (1934) interval as it is an exact method, that is, unlike the other
probabilities relating to R ∈ [0.05, 0.75]. In this regime, it         estimators used in this work, it is based directly on the cumula-
is important to consider relative precision over fixed precision        tive probabilities of the binomial distribution. For this reason it
(fixed  value). For example,  = 0.1 might be considered as            is often regarded as the “gold standard” in binomial proportion
reasonable precision for p = 0.4, but could equally be consid-          estimation (Agresti and Coull 1998; Newcombe 1998; Gonçalves
ered reasonable for p = 0.2. However, whereas  = 0.05 could            et al. 2012). Whereas the Wald interval is known to produce
be considered as a valid margin of error for p = 10−1 , it is far too   inadequate coverage for small n or p, the Clopper-Pearson inter-
large for a success probability of the order p = 10−3 . Ultimately,     val is generally regarded as being overly conservative, unless n
we find that R ∈ [0.1, 0.5] yields a good compromise between           is quite large (Agresti and Coull 1998; Newcombe 1998; Brown,
estimation precision, coverage performance, and sample size             Cai, and DasGupta 2001; Thulin 2014). The intervals proposed
requirements.                                                           by Wilson (1927) and Agresti and Coull (1998) both offer a
    In this work, we illustrate the importance of using relative        compromise between the (liberal) Wald interval, and the (con-
margin of error in a small p regime, recommend practical toler-         servative) Clopper-Pearson interval.
ances for both relative margin of error and coverage probability,           We assess the performance of the Wilson and Agresti-Coull
and provide comparisons in terms of sample size requirements.           intervals in this work given their popularity within the literature.
We show that when CI performance is assessed in terms of                For example, Brown, Cai, and DasGupta (2001) recommend the
both coverage probability and relative margin of error, the four        Wilson or Jeffreys interval for small n. For larger n, they recom-
CI estimators perform similarly in many cases. Although the             mend the Wilson, Jeffreys or Agresti-Coull intervals, preferring
differences between the estimators is less pronounced when              the Agresti-Coull method for its simpler presentation. Agresti
considering the relative margin of error, we show that the Wilson       and Coull (1998) recommend the Wilson interval, and add
(score) interval provides the best overall performance. In addi-        that the 95% Wilson interval has similar performance to their
tion, we provide practical guidance on the sample sizes required        method. Newcombe (1998) remarks on the mid-p method (an
to attain reasonable CI performance for various (small) values of       exact method closely related to the Clopper-Pearson method),
p. We anticipate that this guidance will be useful to researchers       and the Wilson method, noting the Wilson’s advantage of having
working in real-world small-p applications.                             a simple closed form. Vollset (1993) too recommends the mid-
    The remainder of this article is organized as follows. In           p and Wilson (uncorrected and continuity corrected) intervals,
Section 2, we review some of the proportion estimators pro-             along with the Clopper-Pearson interval, stating that those four
posed in the literature, focusing, in particular, on the Wald,          intervals can be safely used at all times. Pires and Amado
Clopper-Pearson, Wilson and Agresti-Coull intervals. Section 3          (2008) recommend the continuity corrected arcsine transforma-
provides details of the CI evaluation criteria used in the work.        tion or the Agresti-Coull method. Krishnamoorthy and Peng
Section 4 briefly discusses the initial estimation of p for sample      (2007) show that when controlling for Type I and Type II error
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rates in one-sided hypotheses, the Wilson (score) and exact            3. Evaluation Criteria
(Clopper-Pearson) tests require the same sample size. However,
                                                                       The most commonly used CI evaluation criteria are coverage
for two-sided hypothesis applications, and for constructing con-
                                                                       probability and expected width (Gonçalves et al. 2012)—and
fidence intervals, they recommend the Wilson method.
                                                                       these are the criteria that we consider in this work. However,
   Listed below are the Wald (W), Clopper-Pearson (CP), Wil-
                                                                       other performance metrics have been proposed. For exam-
son (WS) and Agresti-Coull (AC) interval formulas, where zα/2
                                                                       ple, Vos and Hudson (2005) interpret an interval as the non-
denotes the 1 − α/2 quantile of the standard normal distri-
                                                                       rejected parameter values in a hypothesis test and discuss the
bution and x is the number of successes in a sample size of
                                                                       p-confidence and p-bias criteria; Newcombe (1998) presents a
size n.
                                                                       criterion using noncoverage as an indicator of location; and Park
                    
                      
                      p(1 − 
                            p)                                         and Leemis (2019) adopt an ensemble approach and use root
           
      W: p ± zα/2              , where 
                                       p = x/n.                        mean squared error and mean absolute deviation to measure CI
                          n
                                                                       performance.
                                            
    CP:    Lower: Beta α/2; n
                             p, n(1 − 
                                      p) + 1 ,
                                                                     3.1. Coverage Probability
           Upper: Beta 1 − α/2; np + 1, n(1 − 
                                               p) ,
           where Beta(·) is the quantile function of the Beta          The coverage probability can be interpreted as the computed
                                                                       interval’s long-run percentage inclusion of the unknown param-
           distribution.                                               eter. Denoting Lx and Ux as the lower and upper CI bounds
                                                                       formed with x successes (suppressing the dependence on p and
                             
                                                                      the significance level, α), the expected coverage probability,
           p + zα/2       α/2 p(1 − 
                2 /2n ± z            p)/n + zα/2
                                             2 /4n2
    WS:                                                    .           which we denote CPr, for a fixed parameter p, is given by
                             1 + zα/2
                                  2 /n


                                                                                          n
                                                                                               n x
                  p(1 − 
                         p)            n
                                        p + zα/2
                                             2 /2                            CPr(n, p) =         p (1 − p)n−x 1(Lx ≤ p ≤ Ux ),          (1)
    AC: 
        p ± zα/2            , where 
                                    p=                                                     x=0
                                                                                               x
                      
                      n                 n + zα/2
                                              2

                                                                       where 1(·) is an indicator function that takes the value 1 when
           and         2
               n = n + zα/2 .
                                                                       its argument is true, and 0 otherwise.

2.2. Estimating Proportions when No Events are Observed
                                                                       3.2. Expected Width
To provide an initial flavor of the challenging nature of esti-
                                                                       The expected width, which we denote EW, is given by
mating rare-event probabilities, we first consider the situation
where no events are observed in the sample. Letting x denote
the number of observed events, for very small p, it will be quite                             n
                                                                                                  n x
likely in small samples that x = 0, and, hence,     p = 0/n = 0.               EW(n, p) =          p (1 − p)n−x (Ux − Lx ),            (2)
                                                                                                  x
For example, consider an event that occurs with probability p =                               x=0

10−3 , and consider the case where the sample size is n ≤ 100          and the expected margin of error, EMoE, is then given as
such that Pr(X = 0) > 0.9, that is, it is very likely that no events   EMoE(n, p) = EW(n, p)/2.
will be observed in this sample.
    In this scenario where no events are observed, the resulting
intervals are very conservative for small n. For example, with a       4. Calculating Sample Size
sample of size n = 100, the following intervals are obtained:          The first problem in CI estimation is determining the sample size
W: [0, 0], CP: [0, 0.0362], WS: [0, 0.0370], AC:[−0.0074, 0.0444].     required to achieve a desired estimation precision. There have
Clearly the Wald interval is degenerate, and the remaining inter-      been a range of sample size determination methods discussed in
vals are far too wide to be useful in small p settings where           the literature, for example, Gonçalves et al. (2012), Korn (1986),
a good estimate of magnitude is required; the issue is more            and Liu and Bailey (2002), but here we adopt the common
acute for smaller proportions, for example, the probability of         approach of deriving the sample size from the CI formula with
observing no events is 0.99 if p = 10−4 and 0.999 if p =               fixed R = /p. Used in conjunction with the Wald margin of
10−5 . As it is clear that a sample size of n = 100 will not           error, one obtains
suffice, further guidance is required in these scenarios, which
we provide in the sequel. Of course, the required precision is
                                                                                                     2 (1 − p∗ )
                                                                                                    zα/2
analysis specific: the above intervals would be perfectly adequate
                                                                                             n=                     ,                   (3)
if one was only interested in assessing if p < 0.1, for example.                                         R 2 p∗
However, for situations where it is important to determine the
order of magnitude, such as assessing the failure rate in high-        where · denotes the ceiling function, and p∗ denotes an antici-
volume manufacturing, then sufficiently large samples will be          pated value of p, that is, an initial estimate. (Sample size formulas
required to gain a reasonable estimate of the order of magnitude       for the Clopper-Pearson, Wilson and Agresti-Coull intervals are
of p.                                                                  given in Appendix A.)
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4.1. Initial Estimate of p                                             Table 1. Sample size comparison for R = 0.4.
                                                                       p∗
Selecting a value for p∗ is required to make (3) operational, and                                   W                 CP                 WS            AC

this is an inherent practical challenge in any such sample size        10−1       4.0 · 10−2      2.2 · 102       3.0 · 102          2.2 · 102       2.3 · 102
calculation. In some situations, it might be possible to overcome      10−2       4.0 · 10−3      2.4 · 103       3.3 · 103          2.5 · 103       2.5 · 103
this problem by using subject matter knowledge or results from         10−3       4.0 · 10−4      2.4 · 104       3.4 · 104          2.5 · 104       2.6 · 104
                                                                       10−4       4.0 · 10−5      2.4 · 105       3.4 · 105          2.5 · 105       2.6 · 105
a previous study. If no previous information is available, a com-      10−5       4.0 · 10−6      2.4 · 106       3.4 · 106          2.5 · 106       2.6 · 106
mon approach is to consider the value of p∗ = 0.5, but we do           10−6       4.0 · 10−7      2.4 · 107       3.4 · 107          2.5 · 107       2.6 · 107
not adopt this approach here given that the focus of this work is
on small/rare-event probabilities.
   In some situations one might be able to gain a reasonable           Table 2. Wald-based sample size comparison – fixed .
estimate of p. Consider a manufacturing environment where, for
                                                                                                         Margin of error scheme
example, past experience or consultation with process experts
                                                                       p              1                  2                       3                    4
could provide an analyst with information on the order of mag-                    = 4 · 10−2        = 4 · 10−2             = 4 · 10−4          = 4 · 10−4
nitude of p. One may be able to deduce that the true proportion                    p∗ = p             p∗ = 0.5                p∗ = p               p∗ = 0.5
is more likely to be of the order 1 in 10,000 rather than 1 in 1000.
                                                                                    2.2 · 102         6.0 · 102               2.2 · 106            6.0 · 106
Such insight could be sufficient in setting a reasonable value for     10−1          (93.8)            (94.5)                  (95.0)               (95.0)
p∗ and subsequently determining an appropriate sample size.                         2.4 · 101         6.0 · 102               2.4 · 105            6.0 · 106
                                                                       10−2          (21.4)            (93.1)                  (95.0)               (95.0)
Such initial estimation of an unknown parameter is a topic
                                                                                    3.0 · 100         6.0 · 102               2.4 · 104            6.0 · 106
worthy of further discussion but is beyond the scope of this           10−3           (0.3)            (45.2)                  (93.1)               (95.0)
work. Here the focus is on the performance of the intervals after                   1.0 · 100         6.0 · 102               2.4 · 103            6.0 · 106
                                                                       10−4
an initial estimate has been obtained.                                                 (0)              (5.8)                  (21.3)               (94.9)
                                                                                    1.0 · 100         6.0 · 102               2.4 · 102            6.0 · 106
                                                                       10−5            (0)              (0.6)                   (0.2)               (94.9)
                                                                                    1.0 · 100         6.0 · 102               2.5 · 101            6.0 · 106
                                                                       10−6            (0)              (0.1)                    (0)                (93.4)
4.2. Margin of Error Relative to p
                                                                       Wald 95% CI coverage shown in parentheses.
The required precision is largely analysis dependent; what could       Coverage computed with p = p∗
be considered reasonable accuracy in one setting might be com-
pletely inappropriate in another. Although a relative margin of
error scheme cannot be rigidly prescribed, we suggest a general            Given that R is a function of p∗ , the above calculated sample
scheme to avoid intervals that are too wide to be practically          sizes are only applicable to each specific p∗ . Even if the true
useful, or indeed intervals that are too narrow in the sense that      proportion p equals p∗ (i.e., the initial estimate is perfect),    p
a reasonable estimate could have been obtained using fewer             will of course vary from sample to sample and may not equal
resources.                                                             p; hence, the realized relative margin of error will typically differ
   To ensure that the margin of error is not larger than the order     from R .
of magnitude of p∗ , we impose R ≤ 1. Thus, one could consider
0 ≤ R ≤ 1 as a plausible margin of error scheme. However,
considering R values too close to the bound of 1 results in           4.3. -p∗ Compatibility
very wide intervals, whilst considering R values too close to the     Next we illustrate the importance of defining the margin of error
bound of 0 results in very narrow intervals. As R approaches          in relation to the magnitude of the proportion. Consider the
zero, an increasingly large sample size is required, and such          following fixed margin of error schemes:
high precision is not likely to be required for many studies.
Therefore, we suggest R ∈ [0.1, 0.5] as a reasonable scheme.          •    Scheme 1:  = 4 · 10−2 , p∗ = p
This scheme ensures that the interval is not impractically wide,       •    Scheme 2:  = 4 · 10−2 , p∗ = 0.5
nor excessively narrow (in terms of demanding very large sample        •    Scheme 3:  = 4 · 10−4 , p∗ = p
sizes), and we show in Section 6 that acceptable coverage is           •    Scheme 4:  = 4 · 10−4 , p∗ = 0.5
achieved for this range of R values.
   A comparison of calculated sample sizes corresponding to            Table 2 displays the calculated Wald sample sizes and cover-
R = 0.4 is provided in Table 1. (Sample size values in this and       age probabilities corresponding to the above margin of error
subsequent tables are rounded to 2 significant digits.) We can see     schemes. (A comparison of Wald, Clopper-Pearson, Wilson and
from Table 1 that the Wald, Wilson and Agresti-Coull sample            Agresti-Coull coverage probabilities for the above  schemes is
sizes are similar across the p∗ range, but the Clopper-Pearson         given in Appendix B.) Referring to Table 2, fixing  = 4 · 10−2
sample sizes are approximately 40% larger which is indicative of       and considering p∗ = p (Scheme 1) creates sample sizes that
this method’s conservatism. Note that Table 1 is only intended         reduce dramatically as a function of p. This results in coverage
to provide an initial sense of the sample size requirements.           probabilities that are completely inadequate for p ≤ 10−2 . In
However, final results can be found in Tables 10 and 11, and           Scheme 2, both  and p∗ are fixed and this creates a constant
these account for the fact that empirical coverage for binomial        sample size of n = 6 · 102 . This sample size is reasonable for
proportion interval estimators is non-monotonic in the sample          p = 10−1 , but is insufficient for the remaining p values, which is
size (see Sections 5 and 6).                                           reflected in the poor coverage performance.
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Table 3. Wald-based sample size comparison – variable .                                   Table 4. R thresholds as per (4) for a ∈ {5, 10}.
                                             R                                                                    a=5                                       a = 10
p∗                                                                                         p∗
         0.05        0.1         0.2         0.3         0.4         0.5         0.75               α = 0.1      α = 0.05      α = 0.01         α = 0.1     α = 0.05     α = 0.01
       1.4 · 104   3.5 · 103   8.6 · 102   3.8 · 102   2.2 · 102   1.4 · 102   6.2 · 101
10−1                                                                                       10−1       0.698        0.832         1.093           0.493       0.588        0.773
        (94.9)      (94.9)      (95.0)      (94.3)      (93.8)      (93.3)      (94.7)
                                                                                           10−2       0.732        0.872         1.146           0.518       0.617        0.810
       1.5 · 105   3.8 · 104   9.5 · 103   4.2 · 103   2.4 · 103   1.5 · 103   6.8 · 102
10−2    (94.9)      (94.9)      (95.2)      (94.0)      (95.2)      (92.5)      (90.2)     10−3       0.735        0.876         1.151           0.520       0.619        0.814
       1.5 · 106   3.8 · 105   9.6 · 104   4.3 · 104   2.4 · 104   1.5 · 104   6.8 · 103   10−4       0.736        0.876         1.152           0.520       0.620        0.815
10−3    (94.9)      (95.0)      (95.0)      (94.7)      (93.1)      (93.3)      (90.4)     10−5       0.736        0.877         1.152           0.520       0.620        0.815
       1.5 · 107   3.8 · 106   9.6 · 105   4.3 · 105   2.4 · 105   1.5 · 105   6.8 · 104   10−6       0.736        0.877         1.152           0.520       0.620        0.815
10−4    (95.0)      (95.0)      (95.0)      (94.7)      (93.1)      (93.3)      (90.4)
       1.5 · 108   3.8 · 107   9.6 · 106   4.3 · 106   2.4 · 106   1.5 · 106   6.8 · 105
10−5    (95.0)      (95.0)      (95.0)      (94.7)      (93.1)      (93.3)      (90.4)         We examine the proposed R scheme to assess its compati-
       1.5 · 109   3.8 · 108   9.6 · 107   4.3 · 107   2.4 · 107   1.5 · 107   6.8 · 106
10−6    (95.0)      (95.0)      (95.0)      (94.7)      (93.1)      (93.3)      (90.4)     bility with the qualification np∗ ≥ a and n(1 − p∗ ) ≥ a, where
                                                                                           a ∈ {5, 10}, in relation to the Wald sample size equation.
Wald 95% CI coverage shown in parentheses.
                                                                                           Multiplying (3) by p∗ gives

    Scheme 3 is similar to Scheme 1, but here,  is reduced to                                            2 (1 − p∗ )
                                                                                                         zα/2                                              2 (1 − p∗ )
                                                                                                                                                          zα/2
4 · 10−4 . This -p combination produces sufficient coverage for                                np∗ =                       ≥ a ⇒ R ≤               . (4)
p ≥ 10−2 , but deteriorates for the smaller p values. In Scheme 4,                                           R 2                              a
p∗ is fixed at 0.5 and  = 4·10−4 , this results in a constant sample                      For a given n, np∗ < n(1 − p∗ ) when p∗ < 0.5 and, therefore, (4)
size of n = 6 · 106 , which produces good coverage throughout                              is sufficient in the small-p regime to ensure both np∗ and n(1 −
the p range, particularly for p ≥ 10−5 . Whilst the coverage is                            p∗ ) are greater than a. An evaluation of R for p∗ ∈ [10−6 , 10−1 ]
satisfactory in this scheme, the magnitude of  is not compatible                          and α ∈ {0.1, 0.05, 0.01} is provided in Table 4, which shows that
with all p values, particularly p = 10−1 and p ≤ 10−5 . For                                our suggested relative margin of error scheme, R ∈ [0.1, 0.5],
p = 10−1 the resulting interval is [0.0996, 0.1004] which is                               lies below the threshold of (4). (The case of R = 0.5 negligibly
too narrow in the sense that a reasonable interval could be                                exceeds the threshold of 0.493 for p∗ = 10−1 , α = 0.1.)
obtained with a significantly reduced sample size. For p = 10−6
the interval is truncated at [0, 0.000401]. Here, even though the
                                                                                           4.5. Tolerances for Assessing CI Performance
coverage is reasonable, the interval is too wide to be practically
useful since its width is two orders of magnitude larger than p.                           In this section we suggest suitable tolerances for assessing inter-
The Wald sample sizes and coverage probabilities associ-                                   val performance in terms of coverage probability and relative
ated with the relative margin of error schemes: R ∈                                       margin of error. In relation to achieving a desired coverage
{0.05, 0.1, 0.2, 0.3, 0.4, 0.5, 0.75} are given in Table 3.                                probability, one usually considers (1 − α)100 ±  ∗ %, where
    From Table 3, we see that by considering  in relation to the                           ∗ denotes a predefined coverage tolerance. The definition of
magnitude of p, the coverage probabilities are reasonable across                           such a tolerance is dependent on the individual researcher and
the p range, but now, the analyst must choose a scheme such                                particular study, and is thus difficult to quantify. In one study
that the resulting interval’s width is appropriate. For example,                           (1 − α)100 ± 4% might be acceptable, whilst in another, one
consider p∗ = p = 10−1 and R = 0.05 where the resulting                                   might require (1 − α)100 ± 0.5%. We suggest that  ∗ ∈ {1, 2, 3}
interval is [0.095, 0.105]. This interval is very narrow and the                           would be reasonable tolerances for most analyses, and as such,
large sample size of 1.4 · 104 reflects this quite stringent margin                        consider acceptable expected coverage probabilities as CPr ∈
of error. Moving to R = 0.75 has the advantage of significantly                           (1 − α)100 ± 3%, where CPr is described in (1).
reducing the sample size, but, of course, the interval is signifi-                             A tolerance is also necessary with regard to the relative mar-
cantly wider at [0.025, 0.175]. To obtain intervals that are neither                       gin of error. As with the coverage, the desired margin of error
too liberal nor too conservative, that are reasonable in terms of                          is dependent on the particular research question and hence can
coverage performance, and which avoid excessively large sample                             not be rigidly prescribed. However, as previously discussed, it is
sizes, we recommend R ∈ [0.1, 0.5] as a reasonable scheme.                                important that the magnitude of the margin of error reflect the
    The coverage values for the Clopper-Pearson, Wilson and                                magnitude of the estimated proportion.
Agresti-Coull intervals are similar to those shown in Table 3 for                              Table 5 provides suggested tolerances for the assessment of R
R ≤ 0.5. A comparison of coverage probabilities for R = 0.75                             and CPr for (1 − α)100% confidence intervals which could be
is given in Appendix B.                                                                    considered reasonable in most settings.


4.4. Suitability of R Scheme                                                              5. Relative Margin of Error Central to Performance
A range of qualifications/criteria are often used to check the                             Next we illustrate how the relative margin of error is fundamen-
validity of using approximate CI estimators. Fleiss, Levin, and                            tal to CI performance evaluation. We show that when a valid
Cho Paik (2003) state that the normal distribution provides                                confidence interval is defined as achieving a desired coverage
excellent approximations to exact binomial procedures when                                 probability while simultaneously satisfying a minimum relative
np ≥ 5 and n(1−p) ≥ 5. Leemis and Trivedi (1996) also discuss                              margin of error, the four interval estimators perform similarly
the np ≥ 5 (or 10) and n(1 − p) ≥ 5 (or 10) qualification.                                 for a given n-p∗ -α combination.
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                                             Wald Interval                                                           Clopper−Pearson Interval
                  100                                                                        100

                                                                                                                               260


                  99                                                                         99
            CPr




                                                                                       CPr
                                                      240


                  98                                                                         98
                                                 260




                  97                                                                         97
                          00




                                   25




                                                  50




                                                                 75




                                                                                00




                                                                                                     00




                                                                                                                25




                                                                                                                                50




                                                                                                                                               75




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                        0.




                                  0.




                                                 0.




                                                                0.




                                                                               1.




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                                                                                                                                               0.




                                                                                                                                                            1.
                                                    ~
                                                   H                                                                           ~
                                                                                                                               H
                                                      R                                                                           R

                                            Wilson Interval                                                           Agresti−Coull Interval
                  100                                                                        100




                  99                                                                         99
                                                                                                                               260
            CPr




                                                                                       CPr
                                                   240


                  98                                                                         98




                  97                                                                         97
                         00




                                   25




                                                  50




                                                                 75




                                                                                00




                                                                                                    00




                                                                                                                25




                                                                                                                               50




                                                                                                                                               75




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                        0.




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                                                 0.




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                                                                               1.




                                                                                                   0.




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                                                                                                                                               0.




                                                                                                                                                            1.
                                                    ~
                                                   H                                                                           ~
                                                                                                                               H
                                                      R                                                                           R



Figure 1. CPr versus ˜R for p∗ = p = 10−1 , α = 0.01. Dashed (gray) line represents the nominal CPr value. Dot-dashed (red) lines represent the target CPr and ˜R tolerances
from Table 5. Sample size range is from n = 100, to n = 800, in steps of 20. Labels shown adjacent to data points depict the first n where both CPr and ˜R requirements are
satisfied. Additional data labels are referred to within the text.



Table 5. Coverage & relative margin of error tolerances.                                 level with n as one would expect, but it does so in an oscillatory
Tolerance                                Coverage                      Relative MoE      fashion for neighboring values of n. Figures 1 and 2 show that
                                                                                         all four estimators suffer from this erratic behavior.
Target                            CPr ∈ (1 − α)100 ± 1%                  R ≤ 0.5
Acceptable                        CPr ∈ (1 − α)100 ± 2%                 R ≤ 0.75∗           While the coverage performance of the Wald interval is infe-
Minimally acceptable              CPr ∈ (1 − α)100 ± 3%                   R ≤ 1         rior to the other three intervals for n < 240, none of the intervals
Unacceptable                      CPr ∈
                                      / (1 − α)100 ± 3%                   R > 1         satisfy the ˜R ≤ 0.5 requirement at these lower sample sizes.
∗ Considered acceptable as a compromise between  ≤ 0.5 (desired) and  ≤ 1
                                                 R                     R                 Thus, by stipulating a minimum requirement for ˜R , the poor
(limit).                                                                                 coverage at small n is rendered irrelevant and the performance of
                                                                                         the Wald interval is more comparable to the other three intervals
                                                                                         when ˜R ≤ 0.5.
    To demonstrate CI performance we consider the expected
                                                                                             A comparison of the performance of a 95% CI for p∗ = p =
relative margin of error, which we define as ˜R = EMoE/p,                                  −2
                                                                                         10 is given in Figure 2 which shows that the Wald interval
where EMoE is half of the expected width (see (2)). As discussed
                                                                                         achieves ˜R ≤ 0.5 for n ≥ 1600. For n ≥ 1600 the Wald interval
in Section 4.2, a relative margin of error exceeding 1 is not
                                                                                         encounters five sample sizes where the coverage drops below
acceptable from a practical perspective, and, as per Section 4.4,
                                                                                         the lower limit of 94%. The Clopper-Pearson interval requires
we suggest that it should not exceed 0.5.
                                                                                         a sample size of n = 2000 to satisfy both ˜R ≤ 0.5 and CPr ∈
    Figure 1 provides a 99% CI performance comparison for
                                                                                         [94%, 96%], with the coverage exceeding the upper limit of 96%
p∗ = p = 10−1 , and shows that the Wilson, Agresti-Coull
                                                                                         on seven occasions for n > 2000. The Agresti-Coull interval
and Clopper-Pearson intervals all achieve satisfactory coverage
                                                                                         performs very well for n ≥ 1800, with just one value (n =
across the sample size range, whereas for n ≤ 260, the coverage
                                                                                         2600), failing to satisfy both CPr and ˜R thereafter. The Wilson
of the Wald interval oscillates around the lower limit of 98%. For
                                                                                         interval provides the best performance, satisfying both CPr and
example, the coverage is satisfactory at n = 240, but then falls
                                                                                         ˜R requirements ∀ n ≥ 1600.
below 98% at n = 260. This phenomenon of coverage oscillation
                                                                                             Figures 1 and 2 highlight the similarities in performance
relates to the discreteness of the binomial distribution and has
                                                                                         when one considers ˜R . In general, moderate-to-large sample
been previously discussed in the literature, for example, Agresti
                                                                                         sizes are required to satisfy both CPr and ˜R criteria, and at
and Coull (1998), Andersson (2023), Blyth and Still (1983),
                                                                                         these sample sizes the performance across the four intervals is
Brown, Cai, and DasGupta (2001), and Vollset (1993). For a
                                                                                         reasonably comparable.
given p, the empirical coverage does converge to the (1−α)100%
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Figure 2. CPr versus ˜R for p∗ = p = 10−2 , α = 0.05. Dashed (gray) line represents the nominal CPr value. Dot-dashed (red) lines represent the target CPr and ˜R tolerances
from Table 5. Sample size range is from n = 1000, to n = 8000, in steps of 200. Labels shown adjacent to data points depict the first n where both CPr and ˜R requirements
are satisfied. Additional data labels are referred to within the text.


6. CI Performance Tables                                                                 Table 6. 95% CI performance – p∗ = p = 10−1 , “small” n.

Tables 6–9 provide a 95% CI comparison for p∗ = p = 10−1                                 n
                                                                                                         W                    CP                   WS                 AC
                                                                                                   CPr       ˜R       CPr         ˜R      CPr         ˜R    CPr         ˜R
and p∗ = p = 10−6 , across a range of sample sizes and further
illustrate the performance similarities among the estimators.                            10       65.0       1.40      98.7        2.12     93.0        1.85   93.0        2.11
                                                                                         20       87.6       1.17      98.9        1.46     95.7        1.32   95.7        1.46
The table cells are color coded according to the tolerances dis-                         30       80.9       1.01      99.2        1.18     97.4        1.07   97.4        1.16
cussed in Table 5: target (green), acceptable (yellow), minimally                        40       91.4       0.89      97.0        1.01     94.3        0.93   95.8        0.99
acceptable (orange), and unacceptable (red).                                             50       87.9       0.81      97.0        0.90     97.0        0.83   97.0        0.88
                                                                                         60       94.1       0.74      97.2        0.82     95.2        0.76   95.2        0.80
    We first consider p∗ = p = 10−1 and 10 ≤ n ≤ 140, with                               70       92.0       0.69      95.5        0.76     93.2        0.70   97.4        0.73
Table 6 showing that none of the intervals satisfy the desired                           80       90.0       0.65      97.7        0.71     96.3        0.66   96.3        0.68
CPr and ˜R requirements simultaneously. The importance of                               90       94.6       0.61      96.7        0.66     95.0        0.62   95.0        0.64
                                                                                         100      93.2       0.58      95.6        0.63     93.6        0.59   97.2        0.61
considering the relative margin of error in CI evaluation is                             110      91.9       0.55      97.6        0.60     96.3        0.56   96.3        0.58
clearly evident. In several cases the coverage probability lies                          120      95.4       0.53      96.8        0.57     95.4        0.54   95.4        0.55
within the desired tolerance but the excessive relative margin                           130      94.4       0.51      96.0        0.55     94.5        0.52   94.5        0.53
                                                                                         140      93.5       0.49      96.7        0.53     93.5        0.50   96.7        0.51
of error renders the estimate impractical. For example, referring
to the Wilson interval, CPr(20, 10−1 ) = 95.7%, however, ˜R =
1.32 which is not acceptable.
    We see from Table 7 that by increasing n, ˜R ≤ 0.5 is satisfied
(at n = 150, the Clopper-Pearson interval marginally exceeds                             CPr values exceeding 95 ± 2%. The Wilson and Agresti-Coull
0.5, but is less than 0.5 thereafter). Each interval encounters                          intervals perform the best, but overall, all four intervals perform
sample sizes where CPr exceeds the bounds of ±1%, but overall,                           well in this large sample size scheme, particularly if the coverage
CPr is satisfactory.                                                                     tolerance was considered as CPr ∈ 95 ± 2%.
    As per Table 8, none of the intervals satisfy CPr ∈ [94%, 96%]                          The CPr and ˜R performance across the p∗ range is given in
and ˜R ≤ 0.5 for p∗ = p = 10−6 and n ≤ 14 · 106 . The Wilson                            Tables 10 and 11. Shown is the performance of each CI estimator
method performs best in this scheme, and if the tolerances of                            at a selection of sample sizes of interest. The Wald, Wilson
CPr ∈ [93%, 97%] and ˜R ≤ 0.75 were considered, it would                                and Agresti-Coull methods perform similarly for a given n-p∗
produce a valid interval ∀ n.                                                            combination, as shown in Table 10. The CPr and ˜R values of the
    Referring to Table 9, for 15 · 106 ≤ n ≤ 25 · 106 and p∗ =                           Clopper-Pearson slightly exceed the desired limits, but overall,
p = 10−6 , the Wald interval has the worst coverage, with four                           the performance is quite reasonable.
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Table 7. 95% CI performance – p∗ = p = 10−1 , “large” n.                                                     Table 9. 95% CI performance – p∗ = p = 10−6 , “large” n.
                   W                            CP                       WS                      AC                                W                     CP                        WS                       AC
n                                                                                                            n
             CPr          ˜R           CPr           ˜R         CPr           ˜R      CPr          ˜R                    CPr       ˜R         CPr        ˜R           CPr          ˜R         CPr          ˜R
150      92.6             0.48          97.2         0.51         96.0        0.48       96.0         0.49   15.0 · 106     91.9       0.50       96.3        0.54          94.9         0.52        94.9         0.53
160      95.5             0.46          96.6         0.49         95.4        0.47       95.4         0.47   15.5 · 106     93.6       0.49       97.1        0.53          96.0         0.51        96.0         0.52
170      94.8             0.45          96.0         0.48         94.6        0.45       94.6         0.46   16.0 · 106     94.4       0.49       95.6        0.52          94.1         0.50        96.8         0.52
180      94.1             0.43          95.4         0.46         93.9        0.44       96.6         0.45
                                                                                                             16.5 · 106     92.7       0.48       96.5        0.51          95.3         0.49        95.3         0.51
190      93.4             0.42          96.1         0.45         96.1        0.43       96.1         0.43
200      92.7             0.41          96.7         0.44         95.6        0.42       95.6         0.42   17.0 · 106     94.2       0.47       97.2        0.51          96.2         0.49        96.2         0.50
210      95.3             0.40          96.2         0.43         95.1        0.41       95.1         0.41   17.5 · 106     94.9       0.47       95.9        0.50          94.6         0.48        94.6         0.49
220      94.8             0.39          95.7         0.42         94.5        0.40       94.5         0.40   18.0 · 106     93.5       0.46       96.7        0.49          95.6         0.47        95.6         0.48
230      94.3             0.39          96.4         0.41         94.0        0.39       96.4         0.39   18.5 · 106     94.8       0.45       95.3        0.48          93.9         0.46        96.5         0.48
240      93.7             0.38          96.0         0.40         96.0        0.38       96.0         0.38   19.0 · 106     92.8       0.45       96.2        0.48          95.0         0.46        95.0         0.47
250      93.2             0.37          96.6         0.39         95.6        0.37       95.6         0.38   19.5 · 106     94.1       0.44       97.0        0.47          96.0         0.45        96.0         0.46
260      95.5             0.36          96.2         0.38         95.1        0.36       95.1         0.37   20.0 · 106     94.8       0.44       95.7        0.46          94.4         0.45        94.4         0.46
270      95.0             0.36          95.8         0.37         94.7        0.36       94.7         0.36   20.5 · 106     93.5       0.43       96.5        0.46          95.5         0.44        95.5         0.45
280      94.6             0.35          95.4         0.37         94.3        0.35       94.3         0.36
                                                                                                             21.0 · 106     94.7       0.43       95.1        0.45          93.8         0.43        96.3         0.44
290      94.2             0.34          96.1         0.36         96.1        0.35       96.1         0.35
300      93.8             0.34          96.6         0.35         95.7        0.34       95.7         0.34   21.5 · 106     92.9       0.42       96.0        0.45          94.9         0.43        94.9         0.44
310      93.3             0.33          96.3         0.35         95.4        0.33       95.4         0.34   22.0 · 106     94.2       0.42       96.8        0.44          95.8         0.42        95.8         0.43
320      95.4             0.33          96.0         0.34         95.0        0.33       95.0         0.33   22.5 · 106     94.7       0.41       95.6        0.44          94.4         0.42        94.4         0.43
330      95.1             0.32          95.7         0.34         94.7        0.32       94.7         0.33   23.0 · 106     93.6       0.41       96.4        0.43          95.4         0.41        95.4         0.42
340      94.7             0.32          95.4         0.33         94.3        0.32       94.3         0.32   23.5 · 106     94.8       0.40       95.1        0.43          96.2         0.41        96.2         0.42
350      94.4             0.31          96.0         0.33         96.0        0.31       96.0         0.32   24.0 · 106     93.1       0.40       96.0        0.42          94.9         0.41        94.9         0.41
                                                                                                             24.5 · 106     94.3       0.39       96.7        0.42          95.8         0.40        95.8         0.41
                                                                                                             25.0 · 106     94.8       0.39       95.5        0.41          94.4         0.40        94.4         0.40
Table 8. 95% CI performance – p∗ = p = 10−6 , “small” n.
                           W                         CP                    WS                    AC
n                                                                                                            Table 10. 95% CI performance comparison – n.
                   CPr           ˜R           CPr          ˜R     CPr           ˜R     CPr         ˜R
                                                                                                                                              W                  CP                      WS                  AC
7.5 · 106          93.6          0.70         95.8        0.79      93.7        0.75      97.4        0.79   p∗             n
                                                                                                                                        CPr       ˜R     CPr         ˜R          CPr         ˜R    CPr         ˜R
8.0 · 106          89.2          0.68         96.9        0.76      95.2        0.72      95.2        0.76
8.5 · 106          91.9          0.66         97.7        0.73      96.3        0.70      96.3        0.74            nA : 1.4 · 102   93.3       0.49    96.8        0.53        95.2        0.50    95.2        0.51
                                                                                                             10−1
9.0 · 106          94.0          0.64         95.7        0.71      93.7        0.68      97.2        0.71            nB : 1.6 · 102   94.2       0.47    95.6        0.50        94.1        0.47    95.4        0.48
9.5 · 106          90.3          0.63         96.7        0.69      95.2        0.66      95.2        0.69            nA : 1.6 · 103   94.0       0.49    97.1        0.52        95.9        0.50    95.9        0.52
                                                                                                             10−2
10.0 · 106         92.6          0.61         97.5        0.67      96.3        0.64      96.3        0.67            nB : 1.8 · 103   94.1       0.45    95.4        0.48        95.4        0.46    95.4        0.47
10.5 · 106         94.4          0.60         95.7        0.65      93.9        0.63      97.1        0.65            nA : 1.6 · 104   94.0       0.49    97.0        0.53        95.7        0.50    95.7        0.52
                                                                                                             10−3
11.0 · 106         91.2          0.58         96.7        0.64      95.3        0.61      95.3        0.64            nB : 1.7 · 104   94.7       0.47    95.9        0.50        94.7        0.48    95.9        0.49
11.5 · 106         93.2          0.57         97.5        0.62      96.3        0.60      96.3        0.62            nA : 1.6 · 105   94.0       0.49    96.9        0.53        95.7        0.51    95.7        0.52
                                                                                                             10−4
12.0 · 106         94.3          0.56         95.8        0.61      94.2        0.58      97.1        0.60            nB : 1.7 · 105   94.7       0.47    95.9        0.50        94.7        0.48    95.8        0.49
12.5 · 106         92.1          0.55         96.8        0.60      95.5        0.57      95.5        0.59            nA : 1.6 · 106   94.0       0.49    96.9        0.53        95.7        0.51    95.7        0.52
                                                                                                             10−5
13.0 · 106         93.8          0.54         97.5        0.58      96.4        0.56      96.4        0.58            nB : 1.7 · 106   94.7       0.47    95.9        0.50        94.7        0.48    95.9        0.49
13.5 · 106         94.7          0.53         96.0        0.57      94.6        0.55      94.6        0.57            nA : 1.6 · 107   94.0       0.49    96.9        0.53        95.7        0.51    95.7        0.52
                                                                                                             10−6
14.0 · 106         92.9          0.52         96.9        0.56      95.7        0.54      95.7        0.55            nB : 1.7 · 107   94.7       0.47    95.9        0.50        94.7        0.48    95.8        0.49
                                                                                                             nA : First n where at least one interval satisfies CPr ∈ 95 ± 1% and ˜R ≤ 0.5.
                                                                                                             nB : First n where all intervals satisfy CPr ∈ 95 ± 1% and ˜R ≤ 0.5.

   Table 11 gives the sample sizes required to maintain a desired
level of CPr and ˜R . Three performance schemes were investi-                                               probabilities. Achieving accuracy on the order of magnitude for
gated: (i) CPr ∈ 95 ± 3%, ˜R ≤ 1, (ii) CPr ∈ 95 ± 2%, ˜R ≤                                                 a small p is usually most relevant in large populations, where
0.75 and (iii) CPr = 95 ± 1%, ˜R ≤ 0.5. For each scheme,                                                    it will also be possible to collect large samples. For example,
the Wilson interval required the smallest sample size to achieve                                             a quality engineer may have little problem in obtaining high-
(and maintain) the desired performance, thus, providing further                                              throughput process data of order n = 106 or greater, and, in
evidence of its overall superiority among the four estimators.                                               this large-scale production setting, it will be critical to know
   Table 12 shows the ˜R values pertaining to the sample sizes                                              whether the defect rate is, say, one in one thousand, or one in
displayed in Table 11 (R values were found to be very similar to                                            ten thousand. In Section 8, we assess three data-rich scenarios
the given ˜R values). It can be seen that in relation to a 95% CI, to                                       from the literature, that is, cases that involve estimating a small
ensure that the coverage remains within ±2%, the Wald interval                                               proportion while using large samples.
requires ˜R ≤ 0.37, whereas the Wilson interval requires ˜R =                                                 Notwithstanding the fact that accurate estimation of a small
0.75. The ˜R values corresponding to maintaining the coverage                                               p is most important in large populations, an analyst may be
within 95 ± 1% (green table cells) are in close agreement with                                               faced with the challenge of estimating a small p with a limited
our recommendation to use ˜R ∈ [0.1, 0.5].                                                                  sample size. We touched on this problem in Section 2.2, but now
                                                                                                             consider CI performance in more detail using the approach of
                                                                                                             Section 6.
7. Estimating a Rare Event with a Small Sample Size
                                                                                                                Assume that the true proportion is of order 10−2 . As shown
It is clear from the above results, that as expected a priori, quite                                         in Table 11, sample sizes of order n = 103 will be needed to
large sample sizes are required to accurately estimate rare-event                                            accurately estimate p. However, here, we assume that the analyst
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Table 11. 95% CI sample size comparison.                                                              An anonymous reviewer advised us of two modern CI esti-
p∗               n              W                     CP                WS                 AC      mation approaches: an asymptotic method based on general-
                                                                                                   ized fiducial inference (GFI) (Hannig 2009), and a recently-
                nC           1.5 · 102          5.4 · 101          3.6 · 101          4.2 · 101
10−1            nD           2.9 · 102          1.9 · 102          6.2 · 101          1.0 · 102
                                                                                                   developed exact method known as the “repro samples” method
                nE           6.5 · 102          1.2 · 103          3.5 · 102          3.5 · 102    (Xie and Wang 2022). The GFI method is an extension of the
                nC           1.5 · 103          7.1 · 102          4.4 · 102          5.0 · 102    fiducial argument proposed by Fisher (1930), and the repro
10−2            nD           2.8 · 103          2.0 · 103          7.4 · 102          1.2 · 103    method is a simulation-based method that provides a finite sam-
                nE           8.0 · 103          1.0 · 104          2.6 · 103          4.1 · 103    ple CI coverage guarantee, which is particularly useful in small
                nC           1.8 · 104          7.0 · 103          4.5 · 103          5.1 · 103
10−3            nD           2.8 · 104          1.7 · 104          7.5 · 103          1.2 · 104
                                                                                                   samples. We have tested both of these more modern methods
                nE           7.4 · 104          1.0 · 105          2.6 · 104          3.7 · 104    (see Appendix C), and have found that they provide reasonable
                nC           1.8 · 105          7.0 · 104          4.5 · 104          5.1 · 104    coverage (starting from a conservative position akin to the exact
10−4            nD           2.8 · 105          1.6 · 105          7.5 · 104          1.2 · 105    Clopper-Pearson method). However, when p and n are small, the
                nE           7.4 · 105          1.0 · 106          2.9 · 105          4.7 · 105    methods experience the same issues as the classical methods we
                nC           1.8 · 106          7.0 · 105          4.5 · 105          5.1 · 105
10−5
                                                                                                   have considered; in particular, the relative margin of error is too
                nD           2.8 · 106          1.7 · 106          7.5 · 105          1.2 · 106
                nE           7.4 · 106          1.0 · 107          2.9 · 106          4.7 · 106    large to be used in settings where the order of magnitude of a
                nC           1.8 · 107          7.0 · 106          4.5 · 106          5.1 · 106    small p is of interest. (It is noteworthy, however, that the GFI
10−6            nD           2.8 · 107          1.7 · 107          7.5 · 106          1.2 · 107    and repro sampling methods are general inference procedures
                nE           7.4 · 107          1.0 · 108          2.9 · 107          4.7 · 107    that provide good finite-sample performance in a wide range of
nC : n1 where CPr ∈ 95 ± 3% and ˜R ≤ 1 ∀ n ≥ n1                                                   problems beyond proportion estimation.) Ultimately, all of our
nD : n1 where CPr ∈ 95 ± 2% and ˜R ≤ 0.75 ∀ n ≥ n1                                                work points to the fact that large samples are required in this
nE : n1 where CPr ∈ 95 ± 1% and ˜R ≤ 0.5 ∀ n ≥ n1
Smallest sample size for each scheme shown in bold.                                                small-p setting, and we have provided guidelines in Section 6.


Table 12. ˜R values corresponding to maintained coverage.                                         8. Case Studies
CPr                      W                      CP                     WS                AC
                                                                                                   We now consider the use of the relative margin of error in
95 ± 3%              0.46–0.50             0.80–0.87              0.98–1.00           0.97–1.00    the estimation of small/rare-event proportions using data from
95 ± 2%              0.34–0.37             0.45–0.52              0.75–0.75           0.60–0.61
95 ± 1%              0.22–0.23             0.17–0.20              0.31–0.39           0.29–0.33
                                                                                                   the literature. More specifically, we consider: (i) a study on the
                                                                                                   prevalence of ADHD prescriptions in adolescents, (ii) a clinical
˜R values observed across the p∗ range displayed as minimum–maximum.                              trial relating to COVID-19 vaccine efficacy, and (iii) accident
                                                                                                   data from commercial jet aircraft records.
Table 13. 95% CI performance – p∗ = p = 10−2 , small n.                                                Using the values of n and  p reported in each of the aforemen-
                                                                                                   tioned studies, we evaluate the validity of a 95% Wald CI in terms
                 W                        CP                      WS                  AC
n
          CPr          ˜R          CPr        ˜R         CPr         ˜R     CPr          ˜R
                                                                                                   of the interval’s relative margin of error. We discuss the Wald
                                                                                                   interval as it is the most commonly used interval estimator, and
20        18.2        1.80        98.3         9.19        98.3        8.70    98.3        11.36
40        33.1        1.73        99.3         5.22        93.9        5.08    99.3        6.57
                                                                                                   for each of these case studies, it produces similar results to the
60        45.2        1.65        97.8         3.80        97.8        3.72    97.8        4.72    Clopper-Pearson, Wilson and Agresti-Coull intervals. We also
80        55.2        1.57        99.1         3.07        95.3        3.00    99.1        3.74    refer to our sample size calculations/CI performance analyses to
100       63.3        1.50        98.2         2.62        92.1        2.55    98.2        3.13
                                                                                                   assess the suitability of the sample size in terms of achieving the
                                                                                                   desired coverage.

is dealing with a hard-to-reach population where n ≤ 100; the
                                                                                                   8.1. Assessing Prevalence of ADHD Medication
performance of the four intervals is displayed in Table 13.
    It is clear that all four intervals perform quite poorly in this                               The first study we consider is a study conducted by Sawyer
scenario both in terms of coverage and relative margin of error.                                   et al. (2017) to assess the prevalence of stimulant and antide-
The coverage of the Wilson interval is notably better than the                                     pressant medication in Australian children and adolescents with
others, and is reasonable for some sample sizes, albeit is still                                   symptoms of ADHD (Attention-Deficit/Hyperactivity Disor-
somewhat erratic. This interval does achieve excellent coverage                                    der) and major depressive disorder (MDD). A nationally rep-
for n = 80 for example, but the relative margin of error is                                        resentative sample of n = 6310 children between the age of
˜R ≈ 3, that is, the margin of error of 0.03 is much larger than                                  4 and 17 was obtained, which found that 13.7% of those with
p = 0.01. If the analyst only requires a rough estimate of p,                                      symptoms meeting the criteria of ADHD had used stimulant
for example, to answer the question of whether or not it is less                                   medications.
than 0.1, then such a large margin of error will be acceptable. On                                    For a sample size of n = 6310, and an estimated proportion of
the other hand, if the aim to is accurately estimate the order of                                  magnitude  p = 0.137, the 95% Wald CI is given as [0.129, 0.145],
magnitude of p, this will not be achievable for such small sample                                  with a realized relative margin of error of R = /p ≈ 0.062.
sizes (and, clearly, performance will degrade further for even                                     Using the Delta method (see Appendix D), a 95% CI for R is
smaller p). This again highlights the importance of considering                                    given as [0.060, 0.064]. (For each case study, a CI for ˜R was
relative margin of error in the small p setting, and our suggestion                                obtained using Monte Carlo simulation in conjunction with the
is to use ˜R ∈ [0.1, 0.5].                                                                        Delta method, and each was found to be in agreement with
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Table 14. 95% Wald CI – R comparison.                                  8.3. Commercial Aircraft Accidents

p                 n                
                                           R            
                                                           p ±
                                                              
                                                                         A summary of annual commercial jet aircraft flight hours, depar-
                6310             0.008     0.06         [0.129, 0.145]   tures and accidents is provided by Boeing (2022). In the year
                 605             0.027     0.20         [0.110, 0.164]
0.137            269             0.041     0.30         [0.096, 0.178]
                                                                         2021, there were 21.6 million aircraft departures with a total of 23
                 152             0.055     0.40         [0.082, 0.192]   recorded incidents/accidents. Although all aircraft departures
                  97             0.068     0.50         [0.069, 0.205]   and accidents are recorded here, we may still view this as a
                                                                         sample from a larger population of flights that might have taken
                                                                         place (had demand been higher) or indeed for flights in upcom-
the corresponding CI estimate for R .) For this study, the R CI        ing years (provided that conditions such as aviation regulations
values fall outside of our recommended range of R ∈ [0.1, 0.5]          and the composition of aircraft fleets remain similar). Therefore,
meaning that the interval is somewhat narrower than what we              it is still of interest to compute a confidence interval in this
recommend, that is, one could achieve an acceptable result with          scenario, and, irrespective of the specific target population, the
fewer observations. Indeed, Table 14 displays the sample sizes           data still suffice for the purpose of demonstrating our proposed
for a selection of R values in this range, and, note, for example,     scheme.
that R = 0.4 leads to a sample size approximately forty times              For this data,  p ≈ 1.1 · 10−6 , which gives a 95% Wald CI
smaller than the sample size used in the study.                          of [0.66 · 10 , 1.54 · 10−6 ], with R ≈ 0.40 (95% CI for R of
                                                                                        −6

   It can also be seen from Table 14 that a relative margin of           [0.328, 0.494]). This relative margin of error is consistent with
error of R = 0.2 corresponds to a CI which is similar to               our recommendation of R ∈ [0.1, 0.5], and as discussed in
that computed at R = 0.06, but uses a sample size that is              Section 4.3, provides a satisfactory estimator. Indeed, following
approximately 10 times smaller. Had the order of magnitude of            the approach of Table 10, we have found that, when p = 1.1 ·
p been known in advance (e.g., if it was known that p ≈ 1/10,            10−6 , all four estimators satisfy CPr ∈ 95 ± 1% and ˜R ≤ 0.5
rather than p ≈ 1/100), then a smaller sample size would have            when n = 21.6 · 106 .
sufficed. When p is of the order 10−2 , very good coverage is                In the context of estimating the proportion of aircraft acci-
achieved for n = 1800 (see Table 10), hence the study sample             dents, the analyst has no control over the sample size. That is to
size of n = 6310 is more than adequate for the scenarios where           say, had a larger sample size been required, one would simply
p = 10−1 and p = 10−2 .                                                  have to wait for more aircraft departures to occur. However, our
                                                                         analysis provides us with reassurance that our computed interval
                                                                         will perform satisfactorily.
8.2. COVID-19 Vaccine Efficacy
An efficacy trial of the BNT162b2 mRNA COVID-19 vaccine
                                                                         9. Discussion
was conducted by Polack et al. (2020). In this placebo-controlled,
observer-blind trial, 43,548 participants were randomly assigned         When constructing confidence intervals for small success prob-
either the BNT162b2 vaccine or a placebo treatment. Of the               abilities it is important that the margin of error, , be considered
21,720 participants who received the vaccine, there were eight           relative to the magnitude of the proportion, p. Incompatibilities
cases of COVID-19 after the second dose. This leads to an                between  and p can lead to completely unsatisfactory coverage
estimated proportion of  p = x/n = 8/21,720 ≈ 3.7 · 10−4 , and,         or unnecessarily narrow intervals that require extremely large
therefore, the 95% Wald CI is given by [1.1 · 10−4 , 6.2 · 10−4 ],       sample sizes. When dealing with moderate success probabilities,
with R ≈ 0.69, and a 95% CI for R of [0.421, 0.875]. As per           say p ≥ 0.2, this is less important, but in the context of
Section 4.2 we recommend R ∈ [0.1, 0.5], which is incorporated          small or rare-event success probabilities, the consideration of
in the above interval. However, the CI lower bound is very close          relative to p is crucial to reduce the possibility of substantial
to our recommended R upper bound, and thus, in our suggested            mismatching between  and p. For example,  = 0.05 might
scheme, the computed interval could be questioned with regard            be considered as valid precision for p = 10−1 , but such a
to its width.                                                            margin of error is not compatible with a proportion of the order
    Aside from having a somewhat large margin of error (relative         p = 10−3 .
to p), we need to consider the sample size in relation to the              To ensure  is compatible with the order of magnitude of
order of magnitude of   p. That is, we must assess if the sample        p, we recommend using a relative margin of error scheme, R .
size is large enough to provide acceptable coverage. For example,        We suggest restricting the range of values to R ∈ [0.1, 0.5] as
if p were 10−4 , Table 11 indicates that a sample size of the            higher values lead to imprecision and poor interval coverage,
order 105 is required, whereas, here, the sample size is of the          whereas lower values lead to sample sizes that are likely to be
order 104 . Indeed, we have calculated that, with p = 3.7 ·              impractically large for many studies. Our recommendation of
10−4 and n = 21,720, the expected coverage is just 89.2%. The            R ∈ [0.1, 0.5] avoids intervals that are impractically wide or
Clopper-Pearson, Wilson and Agresti-Coull intervals perform              restrictively narrow in terms of sample size requirements, and we
better in this n-p scheme, achieving coverage of 96.9%, 95.2%,           show that adequate performance is achieved within this range. In
and 95.2% (respectively). However, for this n-p combination, all         contrast to the existing literature, we have highlighted the impor-
three intervals have R > 0.72. Thus, to obtain a CI estimate           tance of the relative margin of error, R , in conjunction with the
where the margin of error is more consistent with    p, and/or to       empirical coverage, when assessing CI performance in the small-
enhance the coverage probability, a larger sample size would be          p setting. When both criterion are considered simultaneously
required.                                                                the Wald, Clopper-Pearson (exact), Wilson and Agresti-Coull
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intervals perform similarly in many cases. In general, all four          A.2. Wilson Interval
intervals fail to satisfy both criteria when the sample size is small,                   
with improved performance at larger sample sizes as expected.                        zα/2 p(1 − p)/n + zα/2
                                                                                                        2 /(4n2 )
                                                                                =                                   ⇒
For example, for a 95% confidence interval when p = 10−1 , none                                1 + zα/2
                                                                                                    2 /n

of the methods produce a satisfactory interval for 10 ≤ n ≤ 140.                         2
                                                                                         zα/2  ∗
Each interval achieves the nominal coverage of 95% at some                      n = max        p (1 − p∗ ) − 2 2
                                                                                         2 2
(albeit not all) sample sizes in this range, but in each case the                                                                    
                                                                                           
desired limit of R ≤ 0.5 is exceeded. Once the sample size is                           ±  2 (1 − 4p∗ (1 − p∗ )) + (p∗ (1 − p∗ ))2
increased (n ≥ 150), and the R requirement is satisfied, all four
intervals perform well in terms of coverage.
    The coverage probabilities of the Wald and Clopper-Pearson
intervals for small n are generally poor, particularly in compar-        A.3. Agresti-Coull Interval
ison to the Wilson and Agresti-Coull intervals. However, the
considerable difference in coverage in such situations is rendered       Letting           2 /2)/(n + z2 ) and 
                                                                                 p = (np + zα/2             α/2
                                                                                                                              2 :
                                                                                                                     n = n + zα/2
immaterial once the (we believe reasonable) requirement that                                     
                                                                                                   p(1 − 
                                                                                                          p)
R ≤ 0.5 is considered. When satisfactory performance is                                = zα/2               ⇒
                                                                                                       
                                                                                                       n
defined as achieving a desired CPr and R , the performance                                                               
                                                                                                        1              0
across these commonly-used intervals is much more compara-                             n = max −            b + ξ kC +          ;
                                                                                                       3a              ξ kC
ble, particularly if one considers empirical coverage in the range
                                                                                       k ∈ {0, 1, 2}
(1 − α)100 ± 2%. In this relative margin of error framework
the criticisms of inadequate coverage for the Wald interval,             where
and excessive conservatism for the Clopper-Pearson interval,             a = 4 2
                                                                               2 (3 2 − p∗ (1 − p∗ ))
                                                                         b = 4zα/2
are somewhat alleviated, and all four intervals perform quite                      √
similarly. Although there are performance similarities, the Wil-         ξ = (−1 + −3)/2
                                                                                       
son and Agresti-Coull intervals are generally superior to the
                                                                         C = 3 1 ± 21 − 430 /2
intervals of Wald and Clopper-Pearson. The Wilson and Agresti-
Coull intervals achieve similar CPr and R values for given n-p-α                4 (3 2 − p∗ (1 − p∗ ))2 − 24 2 z4 (6 2 − 1)
                                                                         0 = 16zα/2                               α/2
combinations, however, the Wilson interval is narrower and                        6 (3 2 − p∗ (1 − p∗ ))3 + 432 4 z6 (4 2 − 1) −
                                                                         1 = 128zα/2                                α/2
achieves favorable performance at lower sample sizes.                            6 (3 2 − p∗ (1 − p∗ ))(6 2 − 1)
                                                                         288 2 zα/2
    When the success probability is small, failure to consider the
margin of error relative to the order of magnitude of the esti-
mated proportion can result in poor coverage, and/or intervals           Appendix B. Fixed Margin of Error Schemes
that are unnecessarily narrow or excessively wide. As shown in
the case studies presented in Section 8, the relative margin of          Table 15 shows that for the fixed margin of error scheme:  = 4 ·
error criterion provides a simple and effective assessment of the        10−4 , p∗ = 0.5, all four intervals produce coverage close to the nominal
                                                                         value. For the remaining three margin of error schemes the Wald inter-
validity of an estimated interval in terms of its width/margin of
                                                                         val produces very poor coverage in comparison to the other intervals.
error. For example, we have shown that all of the interval estima-       For example, in Scheme 1 ( = 4 · 10−2 , p∗ = p), the Wald coverage for
tors considered in this article performed poorly for the COVID-          p = 10−2 is just 21.4%, whereas the coverage of the Clopper-Pearson,
19 study (Section 8.2) in terms of the relative margin or error,         Wilson and Agresti-Coull intervals is 97.7%.
meaning that the confidence intervals were all impractically                 Whilst the Clopper-Pearson, Wilson and Agresti-Coull intervals
wide—and the Wald interval also had notably poor coverage. It            achieve better coverage, all four intervals fail to produce satisfactory
is important to ensure that the interval precision is compatible         coverage if the margin of error scheme is not compatible with the
with the order of magnitude of p. The relative margin of error           magnitude of p. For example, in Scheme 3 ( = 4 · 10−4 , p∗ = p)
serves as a useful evaluation criterion in this regard, and as such,     the Wald interval produces a coverage of just 0.2% for p = 10−5 .
we suggest that it should be considered when planning statistical        However, the Clopper-Pearson, Wilson and Agresti-Coull intervals
                                                                         achieve coverage of 99.8%, 99.8%, and 100%, respectively. Whilst these
studies.
                                                                         coverage probabilities are much closer to the desired 95% coverage
                                                                         than the Wald’s 0.2%, they are too far from the nominal value to be of
Appendices                                                               practical use.
                                                                         Referring to Table 16, for R = 0.75 and p∗ = p ≤ 10−2 , the Wald
Appendix A. Sample Size Formulas                                         coverage is considerably poorer than the other three intervals. Both
                                                                         the Clopper-Pearson and Agresti-Coull intervals produce reasonable
A.1. Clopper-Pearson Interval                                            coverage at approximately 97%. The Wilson interval performs the best,
                                                                        producing coverage very close to the nominal 95% ∀ p.
Letting nLB be the minimum n satisfying: p∗ − Beta α/2; np∗ , n(1 −
         
p∗ ) + 1    ≤  and letting nUB be the minimum n satisfying:
                                                                       Appendix C. CI Estimation using GFI and Repro
Beta 1 − α/2; np∗ + 1, n(1 − p∗ ) − p∗ ≤ , the sample size is given
by:
                                                                                     Samples Methods
                                                                         To compare the performance of the Wald, Clopper-Pearson, Wilson
                       n = max{nLB , nUB }                             and Agresti-Coull methods against the more modern GFI (Hannig
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Table 15. Coverage comparison – fixed .                                       Table 17. Comparison of classical and modern CI methods.
MoE Scheme                       p            W     CP        WS        AC                      W               CP               WS             AC               GFI        Repro
                                                                               p∗     n
                                                                                          CPr       ˜R   CPr        ˜R   CPr     ˜R    CPr        ˜R   CPr      ˜R   CPr ˜R
                               10−1          93.8   96.9      94.7      95.9
                               10−2          21.4   97.6      97.6      97.6         20 87.6 1.17 98.9           1.46      95.7    1.32   95.7   1.46      97.9    1.31   98.2   1.42
1.  = 4 · 10−2 , p∗ = p       10−3          00.3   99.7      99.7      99.7         60 94.1 0.74 97.2           0.82      95.2    0.76   95.2   0.80      95.7    0.76   97.1   0.80
                                                                                        2 93.2 0.58 95.6
                               10−4          00.0   100       100       100    10 −1 10                          0.63      93.6    0.59   97.2   0.61      96.1    0.59   95.8   0.61
                               10−5          00.0   100       100       100          103 95.3 0.19 95.5          0.19      94.9    0.19   94.9   0.19      94.8    0.19   94.6   0.18
                               10−6          00.0   100       100       100          104 95.1 0.06 95.1          0.06      94.9    0.06   94.9   0.06      94.9    0.06   94.9   0.06
                                                                                    20 18.2 1.80 98.3            9.19      98.3    8.70   98.3 11.36 98.6          7.84   98.5   9.02
                               10−1          94.5   95.9      95.2      95.2
                                                                                    60 45.2 1.65 97.8            3.80      97.8    3.72   97.8 4.72 97.5           3.26   98.3   3.73
                               10−2          93.1   96.3      94.1      97.8          2
2.  = 4 · 10−2 , p∗ = 0.5     10−3          45.2   97.7      97.7      99.7   10−2 103 63.3 1.50 98.2           2.62      92.1    2.55   98.2 3.13 98.3           2.27   98.2   2.57
                                                                                    10 92.7 0.61 97.6            0.67      96.4    0.64   96.4 0.66 94.4           0.62   96.2   0.65
                               10−4          05.8   99.8      94.2      100
                                                                                    104 94.6 0.19 95.6           0.20      95.0    0.20   95.0 0.20 94.6           0.19   94.9   0.19
                               10−5          00.6   99.4      99.4      100
                               10−6          00.1   99.9      99.4      100         20 02.0 1.90 98.0 85.01 98.0 81.22 100 >100 98.2 69.93 98.2 83.91
                                                                                    60 05.8 1.91 99.8 30.69 94.2 30.84 99.8 42.46 98.8 25.05 99.7 30.26
                               10−1          95.0   95.0      95.0      95.0          2
                               10−2          95.0   95.1      95.0      95.1   10−3 103 09.5 1.89 99.5 19.00 90.5 19.27 99.5 26.50 99.4 15.58 99.5 18.82
                                                                                    10 63.2 1.51 98.1 2.67 91.9 2.65 98.1 3.29 97.9 2.35 97.9 2.63
3.  = 4 · 10−4 , p∗ = p       10−3          93.1   96.0      94.9      94.9        104 92.6 0.61 97.5 0.67 96.3 0.64 96.3 0.67 94.4 0.63 96.5 0.66
                               10−4          21.3   97.5      97.5      99.8
                               10−5          00.2   99.8      99.8      100         20 00.2 1.91 99.8 >100 99.8 >100 100 >100 99.8 >100 99.8 >100
                               10−6          00.0   100       100       100         60 00.6 1.94 99.4 >100 99.4 >100 100 >100 99.4 >100 99.4 >100
                                                                                      2
                                                                               10−4 103 01.0 1.94 99.0 >100 99.0 >100 100 >100 99.3 >100 98.9 >100
                               10−1          95.0   95.0      95.0      95.0        10 09.5 1.90 99.5 19.33 90.5 19.94 100 27.66 99.6 15.83 99.4 19.11
                               10−2          95.0   95.0      95.0      95.0        104 63.2 1.52 98.1 2.68 91.9 2.66 98.1 3.29 98.2 2.34 97.4 2.65
4.  = 4 · 10−4 , p∗ = 0.5     10−3          95.0   95.1      95.0      95.0
                               10−4          94.9   95.2      95.0      95.0
                               10−5          94.9   96.1      95.5      95.5
                                                                               Appendix D. CI For R
                               10−6          93.4   96.3      94.0      97.7
                                                                               By the Delta method, f ( p) → N(f (p), f  (p)2 σ
                                                                                                                                 2 ) as n → ∞. Given
                                                                                                                                 p
                                                                                                            
                                                                               f (          /
                                                                                  p) = R =           p = 
                                                                                                p, and σ     p(1 −  p)/n, a (1 − α)100% Wald CI for
                                                                               R is given by
Table 16. Coverage comparison – R = 0.75.                                                                                       
                                                                                            z̃    1 −p           z̃        
                                                                                                                            p      
                                                                                                                                   p(1 − p)
p∗                   W                CP              WS                AC                 √            ± zα/2                              ,
                                                                                              n     
                                                                                                    p            4n p4   1 −  
                                                                                                                               p       n
10−1               94.7               97.0            94.6              94.6
                                                                               where z̃ is the (1 − α̃/2) quantile of the standard normal distribution,
10−2               90.2               97.0            94.9              97.0
10−3               90.4               96.9            94.6              96.9   and α̃ is the significance level pertaining to 
                                                                                                                              .
10−4               90.4               96.9            94.6              96.9
10−5               90.4               96.9            94.6              96.9
10−6               90.4               96.9            94.6              96.9   Acknowledgments
                                                                               The authors would like to thank two reviewers, an associate editor, and the
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                                                                               improved as a result of their feedback.
2009) and repro sampling (Xie and Wang 2022) methods, we consider
p ∈ [10−1 , 10−4 ], with sample sizes ranging from n = 20 to n =
104 . This covers a range of scenarios from the main article, including        Disclosure Statement
larger samples as per Section 6 and smaller samples as per Section 7.
As these more modern methods are simulation-based, this makes                  The authors report that there are no competing interests to declare.
exact performance calculations more challenging (as were done in the
main article). Therefore, here, we have carried out a simulation study
with a large number of replicates (5000). The results are presented in         Funding
Table 17.
                                                                               This work was funded by the Technological University of the Shannon
    We can see from Table 17, that, in terms of coverage, both of these        and Science Foundation Ireland (via the Confirm Smart Manufacturing
methods converge toward the nominal 95% level with the sample size             Research Centre, grant number: 16/RC/3918).
(starting from a conservative point akin to the exact Clopper-Pearson
interval). Interestingly, in some of the more challenging scenarios pre-
sented here, for example, p = 10−3 with n = 103 and p = 10−4                   ORCID
and n = 104 , one or both of these methods provide the best empirical
coverage (albeit still being a 2–3 percentage points out from the nominal      Owen McGrath http://orcid.org/0000-0002-8040-7390
                                                                               Kevin Burke http://orcid.org/0000-0001-8724-809X
level in these scenarios). In any case, these methods do not appear to
offer dramatic improvements on the other methods considered, and, in
particular, the key issue of ˜R being large for small n is intrinsic to all
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of the methods. It is important to recognize, however, that the GFI and
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